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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
GATEGUARD, INC.,                                              :
                                                              :
                                           Plaintiff,         :   Docket No. 1:20-CV-01609 (GWG)(AJN)
                                                              :
         - against -                                          :
                                                              :
GOLDMONT REALTY CORP.,                                        :
LEON GOLDENBERG, ABI GOLDENBERG,                              :
                                                              :
                                         Defendants.          :   ORAL ARGUMENT NOT REQUESTED
                                                              :
--------------------------------------------------------------X



        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS GOLDMONT
     REALTY CORP., LEON GOLDENBERG AND ABI GOLDENBERG’S MOTION TO
        COMPEL ARBITRATION AND TO STAY ALL PROCEEDINGS PENDING
                             ARBITRATION
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                                  PRELIMINARY STATEMENT

         Pursuant to the Federal Arbitration Act, 9 U.S.C. § 3, Defendants Goldmont Realty Corp.

(“Goldmont”), Leon Goldenberg (“Leon”) and Abi Goldenberg’s (“Abi,” collectively,

“Defendants”), by and through their undersigned attorneys, hereby submit this Memorandum of

Law in Support of their Motion to Compel Arbitration and for a stay of proceedings.

         This Motion is submitted before the Honorable Alison J. Nathan, insofar as the parties did

not consent to the authority of Magistrate Gorenstein for motions and trial purposes (see Docket

#14).

                                          INTRODUCTION

           As an exhibit to Plaintiff GateGuard, Inc.’s (“GateGuard”) Requests for Admission to

    Defendant Abi Goldenberg, Set One, on or about January 25, 2021, Plaintiff produced a copy of

    the agreement, entitled “Equipment Purchase Agreements Between Goldmont (and related

    entities) and GateGuard, Inc.” (hereinafter, the “Gateguard Agreement”) (Exhibit C). That

    Agreement incorporates by reference various “Dispute Resolution Terms” and “Terms &

    Conditions,” which are available online. 1

           The Agreement and incorporated “Dispute Resolution Terms” and “Terms &

    Conditions” (collectively, the “Agreement Terms”) integrate a dispute resolution framework

    that not only has Delaware choice of law and choice of forum provisions, but also has an

    arbitration provision that covers the entirety of this case. More importantly the Agreement

    Terms explicitly incorporate the Commercial Arbitration Rules of the American Arbitration



1
  Specifically, the Agreement references the “Dispute Resolution Terms” through a website link in
paragraph 17 (“Governing Law”) and references the “Terms of Service” through a link in
paragraph 37 (“Terms”). Copies of both are annexed to the Declaration as Exhibits D and E,
respectively (website links accessed: 10/25/2021).


                                                 1
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    Association (the “AAA”), which in turn state in no uncertain terms that the AAA shall

    determine all questions of arbitrability and the scope of its own jurisdiction. 2

         It appears that the Plaintiff has caused Defendants to expend considerable resources in

undertaking laborious and time-consuming discovery and participate in unwarranted “Meet &

Confer” sessions under law that does not apply, in a Court that does not have jurisdiction, on

substantive matters that are not even ripe for review prior to the AAA addressing any issues of

arbitrability that the Plaintiff might raise, all in furtherance of Plaintiff’s effort to avoid the

consequences of an absurdly lopsided contract of adhesion that Plaintiff has itself drafted.

Pursuant to GateGuard’s Agreement Terms, which expressly incorporate dispute resolution terms

containing a broad arbitration provision and the Federal Arbitration Act (“FAA”), 9 U.S.C. § 3,

Plaintiff’s claims against Defendants should be submitted for resolution to arbitration and this

action should be stayed.

         Plaintiff’s Summons and Verified First Amended Complaint, before the Supreme Court,

consists of two causes of action: (i) Breach of Contract against Goldmont and (ii) Fraud against

Leon and Abi Goldenberg. 3 These claims are arbitrable. Defendants respectfully request that this

Court order Plaintiff to pursue its claims against Defendants in arbitration, pursuant to Plaintiff’s

own Agreement, and impose a stay of the action improperly pending before this Court.




2
  See Exhibit D on page 1: “Arbitration - Notwithstanding anything to the contrary contained
herein, you and GateGuard agree that any dispute, claim or controversy arising out of or relating to
the Terms or the breach, termination, enforcement, interpretation or validity thereof, or to the use
of the Site will be settled by binding arbitration…”
3
  Note that Plaintiff never filed a corresponding Complaint before the Southern District of New
York (“SDNY”). SDNY notified Plaintiff that its filing was deficient on several grounds, including
that the Summons is not linked to an Amended Complaint (Docket No. 5; Note entered:
06/11/2020).
                                                    2
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                                 STATEMENT OF FACTS

       In this action, Plaintiff GateGuard seeks recovery for the purported breach of an alleged

contract, first filing its lawsuit on or about December 4, 2019. The Complaint was verified by Ari

Teman (“Teman”), who identified himself as the CEO of GateGuard (Exhibit B).

       In 2019, the U.S. Attorney’s Office for the Southern District of New York brought

criminal charges against Teman, alleging certain transactions involving GateGuard customers

constituted bank and wire fraud. Following a criminal trial, Teman was convicted of four counts

of bank and wire fraud in U.S.A. v. Teman (No. 19-cr-00696 (PAE) (S.D.N.Y. Jan 29, 2020).

       On or about February 1, 2020, Plaintiff filed a Verified First Amended Complaint (the

“Complaint”), adding a fraud cause of action, before removal to this Court on February 24, 2020.

In both instances, the Complaint alleges that on “August 30, 2019, Goldmont entered into a

written Equipment Purchase Agreement (the ‘Agreement’) with GateGuard” for the delivery of

41 intercom devices (the “Devices”). 4 Plaintiff delivered the Devices on October 29, 2019.5

Plaintiff omits the fact that Goldmont repudiated the Agreement before performance.

       Insofar as his motion relates merely to whether arbitration should be compelled, a full

recitation of the facts is unnecessarily burdensome to the Court and will be avoided. However,

discovery has proven to be a tortured process of repeated objections, endless demands to “meet

and confer”, attempts to improperly involve unrelated parties by use of subpoena power, which

were rebuffed by Judge Gorenstein (see Docket entry #53 staying all challenged subpoenas) and

similar actions which appear designed to frustrate the Defendants, more than to advance this case

to trial. Indeed, in the middle of the deposition of Ari Teman, attorney Ronald David Coleman


4
   Exhibit B, Complaint at ¶¶ 3, 26. Any citations to Exhibit B, being derived from Plaintiff’s
Verified Amended Complaint, are without any admission of the truth or veracity of any of
Plaintiff’s allegations.
5
  Id. at ¶¶ 4, 30.
                                               3
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entered an appearance (Docket #68), although he has since had no involvement in the case. The

role that Coleman - who has previously identified himself as “a spokesman for the Proud Boys6”

– may play in this litigation is yet to be discerned.

       Perhaps most importantly, there have been no substantive motions filed and no rulings

issued that would render arbitration at this juncture impractical.

       It has become increasingly clear that arbitration would best serve the parties and the

interests of judicial economy. The terms of the contract that Plaintiff seeks to enforce, mandate

the relief sought herein. It was improper for Plaintiff to have commenced this litigation in a

tribunal other than the one selected by it in its contracts, and it is appropriate, as Plaintiff’s

counsel has successfully argued elsewhere, that the arbitration provision be enforced, and the

court compel the parties to proceed accordingly.

       Plaintiff has made a habit of seeking enforcement of these disputed and, frankly, bizarre

contracts, and other courts have enforced the arbitration provisions set forth therein. Indeed, in a

recent decision by Judge Cronin, this Court granted a motion to compel Gateguard to arbitrate, a

dispute strikingly analogous to this one.

       Candidly, Defendants note that the instant motion borrows considerably from GateGuard v.

MVI Systems et al. (Docket No. 19-CV-02472 (JPC)(DPF) (hereinafter, “MVI”)’s motion to

compel arbitration since the two actions display striking similarities, most in Plaintiff’s attempt to

litigate disputes reserved, through its own agreements, for arbitration.


6
  https://www.usatoday.com/story/news/nation/2020/09/30/who-proud-boys-group-mentioned-
debate-has-violent-
history/5868406002/?fbclid=IwAR3KINiHP060Zmil_qtcLX_u_fSkE3O04EjWpQBIhHSkjO6ohtj
BPKgI6o8 (“’Current Proud Boys leader Enrique Tarrio, who is Afro-Cuban, says the group has
longstanding regulations prohibiting racist, white supremacist or violent activity,’ Ronald D.
Coleman wrote in an email to USA TODAY. Coleman said he is a spokesman for the Proud
Boys.”) (last visited October 28, 2021).

                                                   4
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                                        LEGAL STANDARD

         A district court has no discretion regarding the arbitrability of a dispute when the parties

have agreed in writing to arbitration. McMahan Securities Co. v. Forum Capital Markets L.P., 35

F.3d 82, 85-86 (2d Cir. 1994); Federal Arbitration Act, 9 U.S.C. §§ 3-4 (1988). The Second Circuit

has “often and emphatically applied the strong federal policy favoring arbitration.” Leadertex v.

Morganton Dyeing & Finishing Corp., 67 F3d 20 (2d Cir 1995). It is also well settled that a “delay

in seeking arbitration does not create a waiver unless it prejudices the opposing party.” Id. citing

Com-Tech Assoc. v. Computer Assoc. Intl., 938 F2d 1574, 1576 (2d Cir 1991).


                                            ARGUMENT

    I.     ARBITRATION MUST BE COMPELLED BECAUSE PLAINTIFF’S
           CLAIMS ARE BASED ON THE AGREEMENT TERMS, WHICH
           PROVIDE THAT ALL DISPUTES ARE TO BE ADJUDICATED
           THROUGH ARBITRATION.

         Pursuant to GateGuard’s Agreement Terms, which expressly incorporate dispute

resolution terms containing a broad arbitration provision and the Federal Arbitration Act

(“FAA”), 9 U.S.C. § 3, Plaintiff’s claims against Defendants should be submitted for resolution to

arbitration and this action should be stayed (Exhibit E at 15.4 and 15.6). Specifically, paragraph

17 of the Gateguard Agreement states, in relevant part:

           Certain additional legal terms, related to interpretation of these Terms, their
           governing law and other terms and restrictions related to the resolution of
           any dispute, claim or controversy between you and GateGuard, shall be as
           stipulated at: http://GateGuard.xyz/legal/dispute.php from time to time (the
           “Dispute Resolution Terms”). 7 See Exhibit C.




7
 Clicking on this link redirects to a webpage entitled “GateGuard Inc: Governing Law and Dispute
Resolution,” a copy of which is annexed to Defendants’ Declaration as Exhibit D. In line with
Plaintiff, this webpage will hereinafter be referred to as “Dispute Resolution Terms.”
                                                  5
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       As part of the “Dispute Resolution Terms,” the arbitration provision (hereinafter,

“Arbitration Provision”), broadly states, as follows:

          Arbitration - Notwithstanding anything to the contrary contained herein,
          you and GateGuard agree that any dispute, claim or controversy arising out
          of or relating to the Terms or the breach, termination, enforcement,
          interpretation or validity thereof, or to the use of the Site will be settled by
          binding arbitration, except that GateGuard alone retains the right to seek
          injunctive or other equitable relief in a court of competent jurisdiction to
          prevent the actual or threatened infringement, misappropriation or violation
          of a its [sic] copyrights, trademarks, trade secrets, patents, or other
          Intellectual Property rights. See Exhibit D.

       The “Dispute Resolution Terms” further provide the following arbitration clause

(hereinafter, the “Arbitration Clause”):

          Arbitration Rules - The arbitration will be administered by the American
          Arbitration Association (“AAA”) in accordance with the Commercial
          Arbitration Rules and the Supplementary Procedures for Consumer Related
          Disputes (the “AAA Rules”) then in effect, except as modified by this
          “Dispute Resolution” section. (The AAA Rules are available at
          www.adr.org/arb_med or by calling the AAA at 1-800-778-7879.) The
          Federal Arbitration Act will govern the interpretation and enforcement of
          this section. See Exhibit D.

       Moreover, paragraph 37 of the Gateguard Agreement states, in pertinent part:

          This document is an integral part of our Terms of Service, which are
          available at: https://gateguard.xyz/legal/terms.php (“Terms”), 8 and is
          incorporated into the Terms by reference. See Exhibit C.

       The “Terms & Conditions,” annexed hereto as Exhibit E, again mandate that the instant

dispute must be submitted to arbitration:

          Agreement to Arbitrate. You and GateGuard mutually agree that any
          dispute, claim or controversy arising out of or relating to these Terms or the
          applicability, breach, termination, validity, enforcement or interpretation
          thereof, or to the use of the GateGuard Platform, the Host Services, the
          Group Payment Service, or the Collective Content (collectively,
          “Disputes”) will be settled by binding individual arbitration (the
          “Arbitration Agreement”). If there is a dispute about whether this
8
 Clicking on this link redirects to a webpage entitled “Terms & Conditions,” a copy of which is
annexed to Defendants’ Declaration as Exhibit E (hereinafter “Terms & Conditions”).
                                                  6
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          Arbitration Agreement can be enforced or applies to our Dispute, you and
          GateGuard agree that the arbitrator will decide that issue. See Exhibit E.

       The “Terms & Conditions” further list exceptions to arbitration, none of which are

applicable herein. Specifically:

          Exceptions to Arbitration Agreement. You and GateGuard each agree that
          the following claims are exceptions to the Arbitration Agreement and will
          be brought in a judicial proceeding in a court of competent jurisdiction: (i)
          Any claim related to actual or threatened infringement, misappropriation or
          violation of a party’s copyrights, trademarks, trade secrets, patents, or other
          intellectual property rights; (ii)Any claim seeking emergency injunctive
          relief based on exigent circumstances (e.g., imminent danger or
          commission of a crime, hacking, cyber-attack). See Exhibit E.

       The instant dispute sounds in contract, not intellectual property. Nor does it involve

emergency injunctive relief. In fact, GateGuard has never sought preliminary injunctive relief in

this case. Rather, Plaintiff seeks inter alia damages in the amount of $369,000.00 with interest on

its first cause of action and unspecified damages on its second cause of action (Exhibit B),

providing no reason why this case should not be submitted to arbitration.

          The “Terms & Conditions” also note as follows:

          15.6 Arbitration Rules and Governing Law. This Arbitration Agreement
          evidences a transaction in interstate commerce and thus the Federal
          Arbitration Act governs the interpretation and enforcement of this
          provision. The arbitration will be administered by AAA in accordance with
          the Consumer Arbitration Rules and/or other AAA arbitration rules
          determined to be applicable by the AAA (the “AAA Rules”) then in effect,
          except as modified here. See Exhibit E.

          Under the Federal Arbitration Act (“FAA”), a written agreement to arbitrate “shall be

  valid, irrevocable, and enforceable.” 9 U.S.C. § 2. The FAA establishes an “emphatic federal

  policy in favor of arbitral dispute resolution.” Mitsubishi Motors Corp. v. Soler Chrysler-

  Plymouth, Inc., 473 U.S. 614, 631 (1985). Courts should therefore “construe arbitration clauses

  as broadly as possible,” David L. Threlkeld & Co. v. Metallgesellschaft Ltd., 923 F.2d 245, 250



                                                 7
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    (2d Cir. 1991), and “any doubts concerning the scope of arbitrable issues should be resolved in

    favor of arbitration.” Moses H. Cone Mem. Hosp. v. Mercury Const., 460 U.S. 1, 24–25 (1983).

           The arbitrability of the claims in this case is a threshold matter that must be resolved by

    the AAA, not this Court, and the Defendants’ motion to compel should be granted for this

    reason alone. While the question of arbitrability is often an issue for judicial determination, that

    is not so where, as here, “the parties clearly and unmistakably provide otherwise.” Schneider v.

    Kingdom of Thailand, 688 F.3d 68, 71 (2d Cir. 2012) (quoting Howsam v. Dean Witter

    Reynolds, Inc., 537 U.S. 79, 83 (2002)). As the Supreme Court very recently held, “[w]hen the

    parties’ contract delegates the arbitrability question to an arbitrator, a court may not override the

    contract.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529 (2019). “In

    those circumstances, a courtpossesses no power to decide the arbitrability issue.” Id.

         To the extent that the “Terms & Conditions” themselves reference a Service Agreement,

which is available in yet another embedded website, 9 this Service Agreement states, in no

uncertain terms: “This contract includes a binding arbitration agreement.” (Exhibit F, page 1).

         The arbitration provisions therein, though largely duplicative of those above are notable

for two reasons (Id. at 21.D). First, they mandate that “Florida law shall apply,” contradicting the

Delaware choice of law and choice of forum provisions noted above. Second, they mandate that

“[d]emand for arbitration shall be made within a reasonable time after a claim, dispute, or other

matter in question has arisen, and in no event shall it be made after two years from when the

aggrieved party knew or should have known of the controversy, claim, dispute or breach.” Id.

Since Defendants became aware of this dispute upon the filing of Plaintiff’s initial complaint, on


9
 See Exhibit E, annexed to Defendants’ Declaration, at 1.1, which states that “[b]y registering as a
user of website or by using of website, you agree…that any purchase and/or subscription will be
bound by our Service Agreement at https://gateguard.xyz/legal/serviceagreement.php...” The
Service Agreement is annexed to the Declaration as Exhibit F.
                                                    8
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or about December 4, 2019, the instant motion, requesting that arbitration be compelled, is

timely. 10 To the extent that Plaintiff would argue that Defendants knew or should have known of

the controversy by the time of Plaintiff’s unauthorized delivery of the Devices on October 29,

2019, 11 the instant motion is again timely since Defendants have two (2) years from the date of

breach (here, unauthorized delivery) to request submission of the instant action to arbitration.

          Further, while the Arbitration Clause (page 9, supra) delegates to the AAA all authority to

determine the scope of arbitrable claims through incorporation of the AAA Commercial Arbitration

Rules, which is sufficient on its own, the GateGuard “Dispute Resolution Terms” themselves

provide that the AAA shall have sole authority over “interpretation” of the Agreement Terms, into

which Plaintiff’s “Dispute Resolution Terms” is explicitly incorporated by reference, and into

which the AAA Rules are similarly incorporated. The AAA Rules, in turn, state that the arbitrator

shall determine the arbitrability of any claims brought before the AAA. Even more telling, the

Arbitration Clause gives the AAA the sole authority to determine the “validity” of the contract at

issue (Exhibit D). Together, the “Dispute Resolution Terms” and Arbitration Clause delegate to the

AAA the broadest possible powers to resolve any dispute relating to the Gateguard Agreement, to

any purported breach as well as to interpretation and validity thereof of the Gateguard Agreement.

As such, the AAA has been tasked not only with issues “arising under or relating to” the Terms,

but it has also been exclusively tasked with interpreting the Gateguard Agreement and “Dispute

Resolution Terms,” and even with deciding whether the Gateguard Agreement and “Dispute

Resolution Terms” in fact embody a valid and enforceable agreement in the first instance. Nothing

in GateGuard’s Arbitration Provision can undermine the broad authority the parties have delegated

to the AAA.


10
     See Initial Summons and Complaint attached to the Declaration as Exhibit B.
11
     See Exhibit B, Initial Complaint at ¶¶ 4, 19; see Amended Complaint at ¶¶ 4, 30.
                                                  9
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        In Contec Corp. v. Remote Solution Co., 398 F.3d 205, 208 (2d Cir. 2005), 12 the Court

explicitly held that an arbitration provision referencing the AAA’s Commercial Arbitration Rules,

as here, constitutes “clear and unmistakable evidence” that the parties intended to delegate the

issue of arbitrability to the arbitrator, not the courts. Id. at 209-10. That is because Rule 7(a) of the

AAA’s Commercial Arbitration Rules delegates the issue of arbitrability to the arbitrator:

        The arbitrator shall have the power to rule on his or her own jurisdiction, including
        any objections with respect to the existence, scope, or validity of the arbitration
        agreement or to the arbitrability of any claim or counterclaim.” 13

        Rule 8 further gives the AAA arbitrator the sole power to interpret the AAA Rules,

including Rule 7 (“The arbitrator shall interpret and apply these rules insofar as they relate to the

arbitrator’s powers and duties.”).

        Together, the Agreement, the “Dispute Resolution Terms,” the “Terms & Conditions” and

the Service Agreement all mandate that the entirety of this case must be submitted for arbitration,

allowing the arbitrator to determine the scope of his own jurisdiction over the Plaintiff’s claims

and adjudicate same. For these reasons, and pursuant to on Plaintiff’s Agreement Terms,

arbitration must be compelled.




12
   The GateGuard “Terms & Conditions” and “Dispute Resolution Terms” are integral to the
Complaint and may be considered by the Court without transforming this motion into one for
summary judgment. DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010)
(explaining that a district court considering a dismissal pursuant to Fed. R. Civ. 12(b)(6) “may
consider the facts alleged in the complaint, documents attached to the complaint as exhibits, and
documents incorporated by reference in the complaint…. Where a document is not incorporated
by reference, the court may nevertheless consider it where the complaint relies heavily upon its
terms and effect, thereby rendering the document ‘integral’ to the complaint….); Int’l Audiotext
Network, Inc. v. Am. Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir.1995) (per curiam) (same).
13
    AAA Commercial Arbitration Rules and Mediation Procedures, American Arbitration
Association,       (https://www.adr.org/sites/default/files/Commercial%20Rules.pdf), R-7(a).
Jurisdiction (accessed on October 26, 2021).
                                                  10
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        A.      THE ARBITRATION PROVISION ENCOMPASSES BOTH OF
                PLAINTIFF’S CLAIMS.

        Plaintiff’s “Dispute Resolution Terms” contain an arbitration section that mandates that all

of Plaintiff’s claims are arbitrable and that, in any event, determinations of arbitrability have been

delegated to the arbitrator in the first instance. The opening clause of the Arbitration Provision (see

page 9 supra), “notwithstanding anything to the contrary contained herein,” suggests that any

language in the “Dispute Resolution Terms” that conflicts with this sentence is explicitly

overridden such that this provision controls the scope of arbitrability.

        In unsuccessfully opposing defendants’ motion to compel arbitration in the MVI case,

Plaintiff attempted to bypass its own pro-company Arbitration Clause while distorting language in

its “Dispute Resolution Terms” so as to attempt to manufacture an arbitration “carve-out” where

none exists. As in MVI, the Court should not be swayed by semantics.

        The arbitration section at issue calls for arbitration of any claim arising out of or related to

the contract on which GateGuard relies in this case. 14 Specifically, parties “agree that any dispute,

claim or controversy arising out of or relating to the Terms or the breach, termination, enforcement,

interpretation or validity thereof, or to the use of the Site will be settled by binding arbitration.” 15

        Since Plaintiff’s claims flow from its contract claim and the core allegation that Defendants

allegedly breached Plaintiff’s Agreement by failing to pay for products and services supposedly

obtained from GateGuard, the instant dispute must be submitted to arbitration. Moreover,



14
   Plaintiff’s only caveat is that “GateGuard alone retains the right to seek injunctive or other
equitable relief in a court of competent jurisdiction to prevent the actual or threatened infringement,
misappropriation or violation of a its [sic] copyrights, trademarks, trade secrets, patents, or other
Intellectual Property rights” (Exhibit D). Since no intellectual property rights are at issue herein,
this caveat is moot.
15
  Exhibit D, fourth paragraph. During a discovery hearing on June 17, 2021, Magistrate Judge
Gabriel W. Gorenstein recognized the limited nature of this case, limiting the scope of discovery to
                                                   11
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Plaintiff’s second cause of action, sounding in fraud, must also be arbitrated since such claim also

arises out of the same circumstances. Exhibit B at ¶¶ 41-52. Indeed, there is no reason why the

fraud claim does not fall within the Arbitration Provision which provides for the arbitrability of

every conceivable type of claim that has anything whatsoever to do with GateGuard and its

products and services. Accordingly, pursuant to 9 U.S.C. § 3, the Court should order Plaintiff’s

claims be submitted for resolution to arbitration and the action should be stayed pending same.

       B.      EVEN IF THE COURT WERE TO READ THE LANGUAGE OF THE
               ARBITRATION SECTION TO CONTAIN A CARVE-OUT, IT IS ONE-
               SIDED ON ITS FACE AND UNCONSCIONABLE UNDER DELAWARE
               LAW.

       Peculiarly, the “Dispute Resolution Terms” state that only “GateGuard may refuse

arbitration at any point and demand a trial” (Exhibit D, fourth paragraph). Under Delaware law, 16

one-sided opt-out provisions, such as those Plaintiff relies on, have routinely been found to be

unconscionable and stricken from the contract at issue. This unilateral opt-out provision in

GateGuard’s lopsided and self-serving adhesion contract is unconscionable and must be stricken

from the agreement, leaving both parties with the benefits of arbitration. See, e.g., Worldwide Ins.

Grp. v. Klopp, 603 A.2d 788, 792 (Del. 1992) (in post-arbitration litigation concerning

confirmation of an arbitral award, the court held that one-sided provision that allowed the drafting

party to effectively avoid the results of its own arbitration provision was properly stricken while the

remainder of the contract was enforced). While this matter should be decided by the arbitrator

under the parties’ broad grant of authority, any tribunal applying Delaware law must strike the opt-

out provision as unconscionable.


those communications about GateGuard that relate to the performance or negotiation of the
contract or the meaning of the contract.
16
   The “Dispute Resolution Terms,” which are incorporated into the GateGuard Agreement, have a
Governing Law clause, stating that the Terms of Service “will be governed by and interpreted in
accordance with the laws of the State of Delaware.” (Exhibit D, third paragraph).
                                                 12
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        Ultimately, this is a question for an arbitrator. As explained by the Supreme Court, an

agreement to arbitrate is “severable” from the rest of the contract, such that if the arbitration terms

delegate authority to an arbitrator, including authority to determine arbitrability, then any claims of

unconscionability directed at the agreement as a whole or other specific terms do not displace that

grant of authority to the arbitrator. 17

        For this reason, Defendants’ motion to compel arbitration should be granted in its entirety.

        C.      GATEGUARD SHOULD BE JUDICIALLY ESTOPPED FROM TAKING
                THE POSITION THAT NOT ALL OF ITS CLAIMS ARE ARBITRABLE,
                OR THAT THE COURT SHOULD DECIDE ARBITRABILITY, OR THAT
                ITS DISPUTE RESOLUTION TERMS HAVE A CARVE-OUT FOR CASES
                INVOLVING INJUNCTIVE RELIEF.

        In anticipation of Plaintiff’s arguments in opposition, Defendants note that under the

doctrine of judicial estoppel, Plaintiff should not be heard to claim that its own broadly drafted

arbitration agreement does not, in fact, call for arbitration in this case. This doctrine is a flexible

one based on the Court’s discretion and is designed to protect the integrity of the judicial process

and prevent the unfairness that would result from allowing a party to take diametrically opposed

legal positions to suit its own interests at the expense of other parties and the courts. See, New

Hampshire v. Maine, 532 U.S. 742, 749–51 (2001) (the purpose is “to protect the integrity of the

judicial process” by “prohibiting parties from deliberately changing positions according to the

exigencies of the moment” and “playing ‘fast and loose with the courts”, and it is therefore “an

equitable doctrine invoked by a court at its discretion”).




17
  See, Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 71-73 (2010) (“Thus, in an employment
contract many elements of alleged unconscionability applicable to the entire contract (outrageously
low wages, for example) would not affect the agreement to arbitrate alone. But even where that is
not the case . . . where the alleged fraud that induced the whole contract equally induced the
agreement to arbitrate which was part of that contract – we nonetheless require the basis of
challenge to be directed specifically to the agreement to arbitrate before the court will intervene.”).
                                                 13
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       Notably, in other litigation brought against GateGuard by one of its former customers

(“BCR”), represented by the undersigned, BCR alleges that GateGuard trespassed on BCR’s

property and inflicted substantial damage to its buildings, seeking both money damages and

injunctive relief. While BCR has claimed that because its claims arise from property damage they

do not arise under or relate to Plaintiff’s GateGuard Agreement, GateGuard responded that because

“BCR’s claims in this action arise out of the same nucleus of operative facts [they] must be

resolved in arbitration pursuant to the Terms [of Service].” (Exhibit I at ¶12). In MVI, Plaintiff

adopted the reverse position in opposing defendants’ motion to compel arbitration, arguing that the

vast majority of its claims are not covered by the GateGuard Agreement or “Dispute Resolution

Terms.” Such dillydallying should be not condoned by the Court.

       In the same litigation, in the context of moving to compel arbitration against a plaintiff

seeking injunctive relief, GateGuard successfully argued that the incorporation of the AAA Rules

into the GateGuard “Dispute Resolution Terms” means that “no judicial determination of the scope

of arbitrability is required, as the terms delegate questions of arbitrability to the arbitrator.”

(Exhibit I at ¶17, see highlights).

       Also in the same litigation, GateGuard, through Mr. Reinitz, argued in opposition to BCR’s

motion for injunctive relief that while “BCR now moves this Court to grant it a preliminary

injunction against GateGuard,” “GateGuard’s terms – which BCR accepted – require disputes to be

settled via arbitration. Accordingly, this Court is not the proper forum for BCR to seek relief.”

(Exhibit J on page 3).

       Thereafter, in its motion to compel arbitration, GateGuard again argued that “the Terms

accepted by BCR include a ‘Governing Law and Dispute Resolution’ section. This section provides

that: ‘[Y]ou and GateGuard agree that any dispute, claim or controversy arising out of or relating to



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the Terms or the breach, termination, enforcement, interpretation or validity thereof, or to the use

of the Site will be settled by binding arbitration…The arbitration will be administered by the

American Arbitration Association (“AAA”)” (Exhibit I at ¶ 9). Based on this submission, which

was unopposed, the court granted GateGuard’s motion to compel arbitration. (Exhibit K).

       Thus, GateGuard has successfully sought to enforce its “Dispute Resolution Terms” against

others by arguing that the scope of the arbitration clause encompasses all claims arising from the

“same nucleus of facts” and that the incorporation of the AAA rules into the GateGuard “Dispute

Resolution Terms” gave the arbitrator sole authority to determine arbitrability. Now that the shoe is

on the other foot, GateGuard should not be allowed to take a diametrically opposite position and

seek precisely the opposite outcome. This conduct satisfies all three prongs of the Court’s judicial

estoppel analysis: (i) GateGuard’s current position is “clearly inconsistent with its position in the

BCR litigation (ii) GateGuard’s motion to compel arbitration in the BCR litigation was granted,

creating the risk of inconsistent rulings and undermining the integrity of the judicial system and

(iii) allowing GateGuard to circumvent arbitration in the instant matter would give it an unfair

advantage against the Defendants because GateGuard should not be allowed to use its arbitration

provisions as a cudgel, invoking them against parties who would prefer to proceed in court and

resisting them against parties who would prefer to proceed in arbitration like the Defendants. In

light of its prior conduct, GateGuard should be estopped from disputing arbitration.




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                                       CONCLUSION

        For the reasons set forth herein, Defendants respectfully request that this Court issue an

 Order compelling arbitration and granting a stay of the action pending same.



Dated: New York, New York
       October 28, 2021


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